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                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF ILLINOIS


  In re: PARAQUAT PRODUCTS LIABILITY                            Case No. 3:21-md-3004-NJR
  LITIGATION
                                                                MDL No. 3004
  This Document Relates to All Cases



                        CASE MANAGEMENT ORDER NO. 19
                   RELATING TO HEARING ON DAUBERT MOTIONS

 ROSENSTENGEL, Chief Judge:

          As of today, July 28, 2023, the Parties have fully briefed their respective Daubert motions

 in the four remaining trial selection cases that were identified in this Court’s Order dated April

 13, 2022. 1 In Case Management Order No. 17, the Court scheduled a hearing on the Parties’

 Daubert motions to begin on Monday, August 21, 2023. After review of the extensive briefing

 submitted by the Parties and in consultation with the Special Master, the Court ORDERS as

 follows:

          x   Plaintiffs’ expert, Dr. Martin Wells, shall appear to provide testimony regarding his
              opinions in this matter on August 21, 2023. 2

                   o    Plaintiffs will proceed with direct examination, and Defendants will have an
                        opportunity for cross-examination. The Court may also pose questions to Dr.
                        Wells regarding the basis and methodology underlying his proffered opinions.

                   o    Each side will have two hours to question Dr. Wells, however, the Court may,
                        in its discretion, extend this limit.




 1 The Court’s Order originally identified six cases for further case-specific discovery. Plaintiffs voluntarily dismissed

 two of those cases (Walkington et al v. Syngenta AG et al., 3:21-pq-00601-NJR; and Marx v. Syngenta Crop Protection LLC
 et al., 3:21-pq-00922-NJR). On May 10, 2023, the Court entered judgment dismissing Walkington and Marx with
 prejudice. (Walkington Dkt. No. 25, and Marx Dkt. No. 14).
 2 Although the Court prefers to receive Dr. Wells’s testimony on August 21, it is willing to accommodate potential

 scheduling conflicts. Plaintiffs shall notify the Court no later than August 2, 2023, if Dr. Wells is unable to appear on
 August 21 and, in that case, shall provide an alternative date during the week of August 21 on which Dr. Wells is
 available to testify.

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          Furthermore, the Court ORDERS the following to facilitate a fair and efficient hearing:

          x   Each Party will have 20 minutes to offer an overview/roadmap of their arguments.

          x   The Court understands from the Special Master that the Parties plan to limit their
              arguments to specific experts as opposed to presenting argument on all experts who
              are the target of a motion to exclude. Because the identity of the experts for whom
              argument will be offered is not yet known to the Court, each Party will be given three
              hours total to present their affirmative arguments to the Court.

                   o   The Party seeking the exclusion of a given expert will present their argument
                       first and the responding party will have an equivalent amount of time to
                       present argument in response regarding that expert. 3

          x   The Parties SHALL notify the Special Master no later than August 1, 2023,which
              experts will be the subject of affirmative argument.

          x   The Court will defer to the Parties as to which experts will be the subject of affirmative
              argument. However, the Parties should be prepared to address the need for expert
              testimony on the issues of general and specific causation.

          In light of the scope of the issues raised in the Parties’ respective Daubert briefing, each

 Party will be permitted to submit a closing brief of no more than 20 pages in length by Friday,

 September 8, 2023.

          This hearing will, of course, be open to the public.

          IT IS SO ORDERED.

          DATED: July 28, 2023

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                                                                NANCY J. ROSENSTENGEL
                                                                Chief U.S. District Judge




 3 A party’s responsive argument will not count against their three-hour limit for affirmative argument.



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